Case 23-00101-JMM   Doc 19    Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document     Page 1 of 14
Case 23-00101-JMM   Doc 19    Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document     Page 2 of 14
Case 23-00101-JMM   Doc 19    Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document     Page 3 of 14
Case 23-00101-JMM   Doc 19    Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document     Page 4 of 14
Case 23-00101-JMM   Doc 19    Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document     Page 5 of 14
Case 23-00101-JMM   Doc 19    Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document     Page 6 of 14
Case 23-00101-JMM   Doc 19    Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document     Page 7 of 14
Case 23-00101-JMM   Doc 19    Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document     Page 8 of 14
Case 23-00101-JMM   Doc 19    Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document     Page 9 of 14
Case 23-00101-JMM   Doc 19     Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document      Page 10 of 14
Case 23-00101-JMM   Doc 19     Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document      Page 11 of 14
Case 23-00101-JMM   Doc 19     Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document      Page 12 of 14
Case 23-00101-JMM   Doc 19     Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document      Page 13 of 14
Case 23-00101-JMM   Doc 19     Filed 03/27/23 Entered 03/27/23 18:32:09   Desc Main
                             Document      Page 14 of 14
